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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

TROY K. SCHEFFLER,

                   Plaintiff,

v.                                           Case No: 6:23-cv-1634-PGB-DCI

MICHAEL J. CHITWOOD,
JOHN DOE and VOLUSIA
COUNTY, FLORIDA,

                   Defendants.
                                     /


                          ORDER TO SHOW CAUSE

       This case is before the Court upon periodic review. Plaintiff has failed to

comply with the Court's Order of August 29, 2023 directing counsel to file a Notice

of Pendency of Other Actions and a Certificate of Interested Persons.

      Therefore, it is ORDERED that Plaintiff shall SHOW CAUSE and file a

response to said Order within fourteen (14) days from the date of this Order.

Failure to comply with this Order may result in dismissal of the case without

further notice or other appropriate sanctions.

      DONE AND ORDERED in Orlando, Florida on September 18, 2023.
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Copies furnished to:
Counsel of Record
Unrepresented Parties
